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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

 GREY OAKS COUNTRY CLUB, INC.,

               Plaintiff,

 v.                                                  Case No: 2:18-cv-639-FtM-99CM

 ZURICH AMERICAN INSURANCE
 COMPANY,

               Defendant.
                                              /


                             CERTIFICATE OF INTERESTED PERSONS
                            AND CORPORATE DISCLOSURE STATEMENT

        I hereby disclose the following pursuant to this Court’s interested persons order:

 1.      The name of each person, attorney, association of persons, firm, law firm,
 partnership, and corporation that has or may have an interest in the outcome of this action —
 including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded
 companies that own 10% or more of a party’s stock, and all other identifiable legal entities
 related to any party in the case:

               1) Grey Oaks Country Club Inc., Plaintiff;

               2) Walter J. Andrews, Michael J. Mueller, Cary D. Steklof, Hunton Andrews
               Kurth LLP, Counsel for Plaintiff;

               3) Zurich American Insurance Company, Defendant;

               4) Jason M. Chodos, Ira S. Bergman, Litchfield Cavo LLP, Counsel for
               Defendant

               5) Hunton Andrews Kurth LLP

               6) Litchfield Cavo LLP

 2.     The name of every other entity whose publicly-traded stock, equity, or debt may be
 substantially affected by the outcome of the proceedings:
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                None known to Plaintiff.

 3.     The name of every other entity which is likely to be an active participant in the
 proceedings, including the debtor and members of the creditors’ committee (or twenty largest
 unsecured creditors) in bankruptcy cases:

                None known to Plaintiff.

 4.     The name of each victim (individual or corporate) of civil and criminal conduct
 alleged to be wrongful, including every person who may be entitled to restitution:

                Grey Oaks Country Club Inc.

         I hereby certify that, except as disclosed above, I am unaware of any actual or
 potential conflict of interest involving the district judge and magistrate judge assigned to this
 case, and will immediately notify the Court in writing on learning of any such conflict. I
 further certify that I have inserted “None” if there is no actual or potential conflict of interest.

 Dated: October 9, 2018                      HUNTON ANDREWS KURTH LLP

                                             /s/ Walter J. Andrews
                                             Walter J. Andrews - Trial Counsel
                                             Fla. Bar No. 84863
                                             Michael J. Mueller
                                             Fla. Bar No. 114938
                                             Cary D. Steklof
                                             Fla. Bar No. 86257
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                                            Attorneys for Plaintiff, Grey Oaks Country
                                            Club, Inc.




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                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 9th day of October, 2018, a true and correct copy of the

 foregoing was served via ECF on all counsel of record.

                                              By: /s/ Walter J. Andrews




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